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5
     Attorney for Defendant
6    JOHN ACOSTA
7

8

9                                IN THE UNITED STATES DISTRICT COURT
10
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12
     UNITED STATES OF AMERICA,                     )       2:18-cr-128-JAM
13
                                                   )
14                  Plaintiff,                     )
                                                   )       WAIVER OF PERSONAL APPEARANCE
15   v.                                            )       AND ORDER,
                                                   )
16
     JOHN ACOSTA,                                  )
17                                                 )
                    Defendant.                     )
18                                                 )
19

20          JOHN ACOSTA, defendant in the above-entitled action, hereby waives his right to be
21   present in open court as provided in Rule 42 of the Federal Rules of Criminal Procedure for any
22
     status conference or motion hearing in this matter. The appearance waiver includes any
23
     appearance involving a continuance either before or after trial, including a hearing at which a
24

25   trial date is selected. The waiver does not extend to arraignment, entry of plea, change of plea,

26   or any trial stage from impaneling a jury to verdict, nor does it apply to imposition of sentence.
27
            The defendant requests that the Court proceed during every permitted absence as set out
28

                                                          1

               Stipulation and [Proposed] Order to Continue Status Conference
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1    in the preceding paragraph. Defendant agrees that his interests will be deemed represented at all
2
     times by the presence of his attorney in the same manner as if he were personally present in
3
     court. He further agrees that he will be present in court and ready for trial of the matter on any
4

5
     day or hour that the Court may fix in his absence.

6           Defendant acknowledges that he has been informed of his rights under the Speedy Trial
7    Act (Title 18, United States Code, section 3161-3174). Defendant expressly authorizes his
8
     attorney to set dates, including permissible delays and continuances pursuant to the Speedy Trial
9
     Act, without the requirement of him being personally present.
10

11
     DATED: May 30, 2019.                                  By /s/ John Acosta
12                                                         JOHN ACOSTA
                                                           Defendant
13

14

15          I agree with and consent to Defendant John Acosta’s waiver of personal appearance at
16
     future proceedings.
17

18   DATED: May 30, 2019                                   /s/ Hayes Gable, III
19
                                                           HAYES GABLE, III
                                                           Attorney for JOHN ACOSTA
20

21

22   IT T IS SO ORDERED

23
     DATED: June 13, 2019
24
                                                   /s/ John A. Mendez_______________________
25                                                 JOHN A. MENDEZ
                                                   UNITED STATES DISTRICT COURT JUDGE
26

27

28

                                                          2

               Stipulation and [Proposed] Order to Continue Status Conference
